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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )              8:13CR380
                     Plaintiff,              )
                                             )
       vs.                                   )               ORDER
                                             )
CHARLES TOLES,                               )
                                             )
                     Defendant.              )


       This matter is before the court on the oral motion of defendant Charles Toles (Toles)
for an extension of the pretrial motion deadline. The motion was made during the
arraignment on the Indictment on April 7, 2014. The government had no objection to the
motion. Toles acknowledged the additional time needed for his motion would be excluded
under the calculations under the Speedy Trial Act. The oral motion was granted.


       IT IS ORDERED:
       1.     Toles’ motion for an extension of time to file pretrial motions is granted.
Toles shall have to on or before May 12, 2014, in which to file pretrial motions in
accordance with the progression order.
       2.     The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., from April 7, 2014, and May 12, 2014, shall
be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act for the reason defendant’s counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage
of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 7th day of April, 2014.
                                                      BY THE COURT:


                                                      s/ Thomas D. Thalken
                                                      United States Magistrate Judge
